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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


ALBERT KOETSIER,

       Plaintiff,                                         Case No.: 1:24-cv-00537

v.                                                        Judge Elaine E. Bucklo

THE PARTNERSHIPS AND UNINCORPORATED                       Magistrate Judge Sunil R. Harjani
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.



                               SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on March 20, 2024 [39] in favor

of Plaintiffs and against the Defendants Identified in Amended Schedule A. Plaintiffs acknowledge

payment of an agreed upon damages amount, costs, and interest and desires to release this judgment

and hereby fully and completely satisfy the same as to the following Defendants:

               NO.                                DEFENDANT
               101                       xiamenchuhaiaoyoukejiyouxiangongsi
                1                                 UOWGA Official


        THEREFORE, full and complete satisfaction of said judgment as to above identified

 Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

 to make an entry of the full and complete satisfaction on the docket of said judgment.
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DATED: July _,
            15 2024                                Respectfully submitted,



                                                   Keith A. Vogt, Esq. (Bar No. 6207971)
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                                                   Chicago, Illinois 60604
                                                   Telephone: 312-971-6752
                                                   E-mail: keith@vogtip.com

                                                   ATTORNEY FOR PLAINTIFF(S)




                                                         15 July, 2024.
Subscribed and sworn before me by Keith A. Vogt, on this _of

Given under by hand and notarial seal.




                                            STATE OF __      !_I_/
                                                      I ......       __
                                                                     V\...-V 1_'_j---­


                                                             (!yp K
                                            COUNTY OF --=-----------


                                                             GRISELDA DELGADO
                                                               OFFICIAL SEAL
                                                • N.otary Public, State of Illinois
                                                            My Commission Expires
                                                               October 05, 2026
